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            IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF GEORGIA
                     SAVANNAH DIVISION

UNITED STATES OF AMERICA,

      v.                                    CASE NO.: 4:18-CR-147-1

OMAR GRIFFIN,

            Defendant.

                                ORDER

     At the Arraignment, the Government made an oral application for

an extension of time in which to produce to defendant any evidence of

defendant’s alleged prior bad acts which it may seek to tender at the trial

of this case pursuant to Federal Rule of Evidence 404(b). The defendant

did not object.

     The government shall KDYH up and until, Monday, June 15,

2020 in which to produce such evidence.

     So ORDERED this 5th day of May, 2020.




                                  ___________________________________
                                  __________
                                           ___________________
                                                            _ ___
                                  Christopher L. Ray
                                  United States Magistrate Judge
                                  Southern District of Georgia
